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   14
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16 VANESSA BRYANT,                            Case No. 2:20-cv-09582-JFW-E
                                                 (Consolidated with 2:20-cv-10844-
   17              Plaintiff,                    JFW-E)
   18        vs.                                 PLAINTIFFS’ TRIAL BRIEF
   19 COUNTY OF LOS ANGELES, et al.,             Pre-Trial Conference: August 5, 2020
   20              Defendants.                   Trial Date: August 10, 2020

   21                                            The Honorable John F. Walter
   22 CHRISTOPHER L. CHESTER,
   23              PLAINTIFF,
   24        vs.
   25
        COUNTY OF LOS ANGELES, et al.,
   26
                   Defendants.
   27
   28

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    1        Pursuant to Local Rule 16-10 and the Court’s Amended Scheduling and Case
    2 Management Order (ECF No. 86), Plaintiffs, by and through their undersigned
    3 counsel of record, hereby submit their Trial Brief in the above-captioned case.
    4 I.     INTRODUCTION
    5        Plaintiffs submit this Trial Brief to address evidentiary issues that could
    6 conceivably arise at trial so that the Court has the benefit of legal authority on
    7 argument on Plaintiffs’ position. Specifically, this Brief addresses the admissibility
    8 of: (1) evidence concerning a March 2021 altercation involving Deputy Doug
    9 Johnson and subsequent coverup by Sheriff Villanueva and LASD, and (2) the
   10 anticipated trial testimony of Kelli Beard, the ex-dating partner and wife of former
   11 LAFD Fire Captain Brian Jordan. As described herein, both categories of evidence
   12 are admissible notwithstanding arguments raised by Defendants and Jordan.
   13 II.    ADMISSIBILITY OF COVER-UP OF JAIL INCIDENT
   14        Defendants have previously tried to exclude evidence of a March 2021
   15 altercation involving Deputy Doug Johnson, a key witness in this case. LASD’s
   16 response to that altercation—including Sheriff Villanueva’s direct, personal
   17 intervention to prevent its public disclosure—bears striking resemblances to its
   18 conduct in this case. The evidence is admissible to prove that LASD’s post-incident
   19 response to the photos in this case was animated by an intent to conceal rather than
   20 to correct misconduct by its personnel, and thus evinced deliberate indifference to
   21 the risk of constitutional violations. The evidence could also be admissible to
   22 address other arguments Defendants might raise at trial.
   23        A.     The March 2021 Jail Incident and Cover-Up by LASD.
   24        The facts of the altercation are straightforward. In March 2021, Deputy
   25 Johnson was videorecorded kneeling on the head of a jail inmate in the San
   26 Fernando Courthouse jail for approximately three minutes. The inmate was
   27 handcuffed and lying prostrate on the jail floor. The altercation occurred during the
   28

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    1 criminal trial of Minneapolis Police Officer Derek Chauvin, who was convicted of
    2 murdering George Floyd by employing a similar restraint.
    3        According to a complaint filed by an LASD Commander, Sheriff Villanueva
    4 was shown video of the altercation shortly after it occurred.1 Sheriff Villanueva
    5 allegedly told a group of LASD officers that LASD did not “need bad media at this
    6 time” and that he would “handle the matter” personally.2 The video of Deputy
    7 Johnson was not made public; an LASD Commander contends that LASD delayed
    8 criminal charges against the inmate out of concern that disclosing the altercation
    9 would “shed negative light on the Department given its nature and similarities to the
   10 widely publicized George Floyd use of force.”
   11        One year later, in March 2022, the Los Angeles Times published a story
   12 containing video footage of the altercation obtained by a Times reporter. Sheriff
   13 Villanueva responded with a press conference, where he announced that the video
   14 was “stolen property” and that he was launching a “criminal” investigation covering,
   15 among others, the Times reporter who broke the story.3 Sheriff Villanueva claimed
   16 publicly that he did not learn about the Deputy Johnson altercation until November
   17 2021. But other LASD senior officers contradicted his account, arguing that they
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   19
   20   1
        See Alene Tchekmedyian, “Fearing bad publicity, LASD covered up case of
   21 deputy who knelt on inmate’s head,” Mar. 25, 2022, L.A. Times,
      https://www.latimes.com/california/story/2022-03-25/sheriff-deputy-force-coverup.
   22
      2
        See Alene Tchekmedyian, “Claim alleges Sheriff Villanueva directed cover-up of
   23 deputy kneeling on inmate,” Apr. 25, 2022, L.A. Times,
   24 https://www.latimes.com/california/story/2022-04-25/deputy-force-kneeling-cover-
      up-claim.
   25
      3
   26 See Harriet Ryan & Brittny Mejia, “Villanueva backs off investigation of Times
      reporter who revealed cover-up,” Apr. 26, 2022, L.A. Times,
   27 https://www.latimes.com/california/story/2022-04-26/los-angeles-sheriff-villanueva-
   28 times-reporter-under-investigation-coverup.

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    1 personally watched the Deputy Johnson video with the Sheriff within days of the
    2 incident and that the Sheriff covered up the event.4
    3         B.    Evidence of the Cover-Up is Admissible Evidence of LASD’s
    4               Deliberate Indifference to the Violations in this Case.
    5         Evidence of Sheriff Villanueva’s direct, personal intervention in the March
    6 2021 jail incident to prevent public disclosure of deputy misconduct is admissible
    7 under Federal Rule of Evidence 404(b) as proof of LASD’s deliberate indifference
    8 to the constitutional violations in this case.
    9         Rule 404(b)(2) states that evidence of a “crime, wrong or other act” can be
   10 admissible to prove “motive, opportunity, intent, preparation, plan, [and]
   11 knowledge[.]” Fed. R. Evid. 404(b)(2). Evidence of other acts may be admitted
   12 under the rule if “(1) the evidence tends to prove a material point; (2) the prior act is
   13 not too remote in time; (3) the evidence is sufficient to support a finding that the
   14 defendant committed the other act; and (4) (in cases where knowledge and intent are
   15 at issue) the act is similar to the offense charged.” U.S. v. Flores–Blanco, 623 F.3d
   16 912, 919 (9th Cir. 2010); Fed. R. Evid. 404(b). If these prongs are satisfied, “other
   17 act” evidence should be admitted so long as the potential prejudice of the evidence
   18 does not substantially outweigh its probative value. See U.S. v. King, 200 F.3d
   19 1207, 1215 (9th Cir. 1999). LASD’s cover-up of the March 2021 jail incident at
   20 Sheriff Villanueva’s direction satisfies these requirements.
   21         First, LASD’s concealment of the March 2021 incident tends to prove the
   22 intent that animated LASD’s handling of the misconduct in this case, which bears
   23
        4
   24     See Alene Tchekmedyian, “First eyewitness account of Sheriff Villanueva lying in
        a cover-up revealed in filing,” Apr. 28, 2022, L.A. Times,
   25   https://www.latimes.com/california/story/2022-04-28/deputy-kneeling-video-cover-
   26   up-claim; Alene Tchekmedyian, “Third top official disputes Sheriff Villanueva’s
        account in cover-up,” May 4, 2022, L.A. Times,
   27   https://www.latimes.com/california/story/2022-05-04/third-top-sheriff-official-
   28   claim-cover-up.

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    1 directly on Plaintiffs’ Monell claims. Plaintiffs’ theory that LASD failed to train its
    2 employees or implement a policy requires proof that LASD acted with “deliberate
    3 indifference” to—i.e., made the conscious choice to disregard—the consequences of
    4 its failure to train and adopt policies with respect to photos of human remains. The
    5 Court has ruled that Defendants’ post-incident failure to adequately investigate or
    6 discipline the misconduct at issue in this case is relevant and admissible to that
    7 question. (July 26, 2022 Hearing Tr. at 22:6-12 (“In addition, the Court agrees with
    8 plaintiffs that defendants’ post-incident failure to adequately investigate or
    9 discipline is relevant to plaintiffs’ unabandoned Monell theories of liability. Such
   10 evidence tends to demonstrate either a pre-existing affirmative custom or practice or
   11 a pre-existing policy of deliberate indifference in the form of a failure to train or
   12 implement policy.”).)
   13         Plaintiffs intend to show that when Sheriff Villanueva and other LASD
   14 leadership learned of the improper photos in this case, they responded by stopping
   15 an internal investigation and offering amnesty to the wrongdoers in exchange for
   16 destroying the evidence of what they had done. Only after the Los Angeles Times
   17 reported on the issue did LASD begin to take half-hearted steps to investigate and
   18 document its employees’ wrongdoing. Plaintiffs will argue that this conduct shows
   19 that LASD was not interested in rooting this problem out, investigating what
   20 happened, strongly communicating to its personnel that this misconduct is
   21 unacceptable, or stopping it with adequate training. Rather, LASD was focused on
   22 sweeping this issue under the rug—consistent with a pre-existing deliberate
   23 indifference to the risk of the kinds of constitutional violations at issue in this case.
   24         Defendants will defend Sheriff Villanueva’s amnesty approach by arguing
   25 that it was a quick and decisive action to protect the victims. They will argue that
   26 the Sheriff’s orders were intended to reverse the missteps taken by deputies who
   27 took and shared photos, while shielding Plaintiffs from any resulting harm.
   28 Plaintiffs should be permitted to rebut that contention by presenting evidence that

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    1 Sheriff Villanueva intervened in similar investigations in a similar timeframe for the
    2 stated purpose of avoiding media scrutiny—where there is no argument that the
    3 victim would benefit from the intervention. This was clearly the case in March
    4 2021, when (according to LASD officers who discussed the issue with him) the
    5 Sheriff decided to personally “handle the matter” involving Deputy Johnson’s
    6 dangerous restraint of an inmate and took steps to prevent the public from learning
    7 of the incident. The Sheriff’s intervention in the March 2021 investigation for the
    8 stated purpose of avoiding “bad media” supports a strong inference that the Sheriff
    9 was similarly motivated when he personally halted an investigation of the crash site
   10 photos and offered amnesty to the offenders in exchange for deletion. See, e.g.,
   11 United States v. Bruder, 2000 WL 290269, at *5 (E.D.N.Y. Feb. 5, 2000)
   12 (“Evidence of prior obstructive or fraudulent behavior is generally admissible to
   13 show intent to commit subsequent similar offenses.”); see also United States v.
   14 Hornsby, 666 F.3d 296, 307 (4th Cir. 2012) (holding that past attempts to conceal
   15 evidence was relevant as to defendant’s intent in separate, subsequent investigation
   16 for evidence tampering).
   17         Second, the Sheriff-directed cover-up of the jail incident was roughly
   18 contemporaneous to his intervention in the crash site photo investigation. Media
   19 reports indicate that the Sheriff learned of and suppressed video of the jail incident
   20 shortly after it occurred in March 2021, which is just over one year after the
   21 helicopter crash in January 2020. Courts have found “other acts” to be sufficiently
   22 close in time when separated by far longer periods. See, e.g., U.S. v. Rude, 88 F.3d
   23 1538, 1550 (9th Cir. 1996) (holding that acts seven or eight years apart were
   24 sufficiently proximate in time to be admissible under Rule 404(b)); U.S. v. Ross, 886
   25 F.2d 264, 267 (9th Cir. 1989) (12 years).
   26         Third, the record contains sufficient evidence for jurors to find that the
   27 Sheriff in fact directed a cover up of the March 2021 jail incident, as has been
   28 widely reported. Multiple high-ranking LASD officers are on record stating that the

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    1 Sheriff told them he would “handle the matter” personally to avoid “bad media.”
    2 These comments furnish a good faith basis for Plaintiffs to ask the Sheriff to admit
    3 that he made those statements. Alternatively, the Sheriff’s own actions following
    4 the Los Angeles Times reports on the March 2021 jail incident—calling a press
    5 conference and ordering a criminal investigation of the journalist who reported on
    6 it—strongly suggest a deliberate (if unsuccessful) effort to prevent disclosure.
    7         Fourth, there are many close parallels between the Sheriff’s response to the
    8 March 2021 jail incident and his actions in the photo investigation. In both cases the
    9 Sheriff became personally aware of evidence of misconduct by LASD personnel. In
   10 both cases, the Sheriff inserted himself into the investigatory and disciplinary
   11 process. In both cases, the Sheriff devised an ad hoc response to the misconduct
   12 outside the chain of command. And in both cases, the Sheriff’s actions (instructing
   13 subordinates to delete evidence in the photo investigation in lieu of an investigation
   14 and discipline, and suppressing video while delaying criminal charges in the jail
   15 investigation) had the natural and foreseeable effect of inhibiting public access to
   16 evidence of the underlying misconduct. These similarities support a strong
   17 inference that the Sheriff’s intervention in the photo investigation was motivated by
   18 the same opposition to outside scrutiny that motivated his actions in the jail
   19 investigation.
   20         Finally, “other act” evidence of Sheriff Villanueva’s cavalier approach to a
   21 similar investigation does not violate Rule 403 because it is highly probative of the
   22 adequacy of LASD’s post-incident investigatory and disciplinary response. The
   23 mere fact that the evidence tends to undermine LASD’s defense is no reason for it to
   24 be excluded. See U.S. v. Hankey, 203 F.3d 1160, 1172 (9th Cir. 2000) (“[r]elevant
   25 evidence is inherently prejudicial”). Nor, contrary to Defendants’ assertions, would
   26 presenting this evidence require a trial-within-a-trial. The witnesses whose
   27 testimony is relevant to the March 2021 incident and cover-up—Sheriff Villanueva
   28

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    1 and Doug Johnson—have already been identified as witnesses for this trial. Asking
    2 them about a single “other act” will not cause undue delay.
    3        In addition to the foregoing, evidence of LASD’s cover-up of the March 2021
    4 investigation could become relevant to numerous other issues, depending on what
    5 evidence and argument Defendants present at trial. For example, if Defendants
    6 argue at trial that an aspect of LASD’s response to the crash site photos (e.g.,
    7 personnel deleting photos from their phones) was a mistake, Sheriff Villanueva’s
    8 efforts to prevent public reporting on LASD misconduct in the March 2021 incident
    9 would be relevant to rebutting that testimony as well.
   10 III.   KELLI BEARD
   11        A second issue that might arise at trial concerns the testimony of Plaintiffs’
   12 witness Kelli Beard, who is a former dating partner and ex-wife of former LAFD
   13 Fire Captain Brian Jordan. Beard will testify about her knowledge of Jordan’s
   14 possessing and sharing a photo of human remains without legitimate purpose.
   15 Among other things, she will recount an incident prior to the helicopter crash in
   16 which Jordan showed her a photo of a deceased victim for no legitimate reason. She
   17 will testify that Jordan kept this photo for himself in a folder. As discussed below,
   18 this testimony is highly relevant to Plaintiffs’ Monell claims because—among other
   19 things—it demonstrates the existence of a prior practice of taking and disseminating
   20 photos of human remains and the need for policies to address them. Neither
   21 Defendants’ argument that the testimony should be stricken as untimely disclosed,
   22 nor Jordan’s unsupported assertion of marital privilege, precludes the testimony.
   23        A.     Testimony About Jordan’s Taking and Dissemination of Photos of
   24               Human Remains Bears Directly on Plaintiffs’ Monell Claims.
   25        Beard’s testimony about Jordan possessing and showing her photos of
   26 remains without a legitimate purpose is plainly relevant.
   27        Courts have held that evidence of past misconduct by municipal employees is
   28 admissible in Monell cases to prove the existence of a municipal custom and

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    1 practice or deliberate indifference to the need for better policies. See, e.g., Beck v.
    2 City of Pittsburgh, 89 F.3d 966, 973 (3d Cir.1996) (evidence of officers’ prior acts
    3 was admissible to prove department “knew, or should have known” of pattern of
    4 constitutional violations); Miller v. Pancucci, 141 F.R.D. 292, 296 (C.D. Cal. 1992)
    5 (police officers’ complaint files admissible to prove Monell liability); Aguilera v.
    6 Ramos, 2021 WL 6427925, at *2 (C.D. Cal. Aug. 25, 2021) (evidence of officers’
    7 prior misconduct is admissible where the purpose is “to show a pattern or practice,
    8 or municipal liability”); Parra v. City of Santa Ana, 2012 WL 13018578, at *1 (C.D.
    9 Cal. Aug. 6, 2012) (police officers’ “prior acts would [be] admissible on plaintiff’s
   10 Monell claim where plaintiff must show a custom or practice of Constitutional
   11 violations.”).
   12         For example, in Velazquez v. City of Long Beach, 793 F.3d 1010, 1027 (9th
   13 Cir. 2015), the plaintiff alleged that a police department had a policy or custom of
   14 failing to investigate officers who used excessive force. The court held that the
   15 district court abused its discretion by excluding evidence of officers’ prior use of
   16 excessive force. The court explained that the evidence was “critical” to “prove that
   17 the [department] was aware” that the officer had used excessive force in the past, yet
   18 the department “had taken no steps to curb his propensity.” Id. at 1028.
   19         Beard’s testimony is highly relevant for precisely these purposes. Jordan’s
   20 gratuitous possession and display of photos of human remains bears directly on
   21 Plaintiff’s failure-to-train theory. It tends to show that Defendants knew or should
   22 have known that the actions of its employees would lead to constitutional
   23 injuries. See City of Canton v. Harris, 489 U.S. 378, 389 (1989); see Velazquez, 793
   24 F.3d at 1027 (quoting Henry v. County of Shasta, 132 F.3d 512, 519 (9th Cir.1997)
   25 (past acts “put [municipal defendant] on notice of its agents’ unconstitutional
   26 actions”). It also provides evidence of prior actions that were not adequately
   27 investigated or punished, which supports an inference that Defendants had a custom
   28 of taking and sharing photos of accident victims.

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    1         B.    Plaintiffs Disclosed Beard As Soon As They Were Able And
    2               Defendants Were Not Prejudiced By the Timing.
    3         Weeks after the prior pre-trial conference in February, Beard reached out to
    4 Plaintiff’s counsel through an intermediary to say that she had information regarding
    5 Brian Jordan. Plaintiff’s counsel followed up with Beard, learned that she had
    6 information relevant to this lawsuit, and promptly disclosed her name and contact
    7 information to Defendants through a supplemental Rule 26 disclosure on March 15,
    8 2022 (i.e., nearly five months ago). This is precisely the procedure that Rule 26
    9 contemplates. See Fed. R. Civ. P. 26(e)(1)(a) (requiring only that party supplement
   10 initial disclosures “in a timely manner if the party learns that in some material
   11 respect the disclosure or response is incomplete or incorrect”).
   12         In their pre-trial briefing, however, Defendants have complained that
   13 Plaintiff’s disclosure of Beard was “late” and necessitates Beard’s exclusion at trial.
   14 That is, Defendants apparently seek exclusion of Beard under Rule 37(c), which
   15 provides for exclusion of witnesses disclosed after the deadline unless that
   16 disclosure is “substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1); see
   17 also Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir.
   18 2001) (noting that Rule 37 sanctions for non-compliance with Rule 26 disclosure
   19 requirements do not apply if the parties’ failure to disclose the required information
   20 is substantially justified or harmless). But Plaintiff’s March 15, 2022 disclosure of
   21 Beard was both substantially justified and harmless.
   22         Plaintiff’s disclosure was substantially justified because Plaintiffs could not
   23 have disclosed Beard before learning of her existence, which did not happen until
   24 after the disclosure deadlines had already passed. Until Beard reached out to
   25 Plaintiff in late February, Plaintiff did not know who Beard was—much less that she
   26 had highly probative testimony to offer. After learning of Beard and the relevant
   27 information she possessed, Plaintiff promptly supplemented her Rule 26 disclosures
   28 to include Beard as a witness. Courts routinely hold that such disclosures are

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    1 substantially justified and not cause for excluding the witness’s testimony. See Ford
    2 v. Pike Elec., LLC, 2021 WL 952403, at *1 (M.D. Ala. Mar. 12, 2021) (finding late
    3 disclosure substantially justified where party was “unaware that [the witness] had
    4 information relevant to the case ‘until shortly before she amended her
    5 disclosures’”); McGowan v. Murphy-Brown, LLC, 2018 WL 10323048, at *2
    6 (E.D.N.C. Dec. 18, 2018) (finding late disclosure substantially justified where late-
    7 disclosed witnesses were “newly discovered” and “requested to be witnesses”); Red
    8 Rock Commc’ns, Inc. v. Am. Telecasting, Inc., 2006 WL 2432628, at *2 (D. Nev.
    9 Aug. 21, 2006) (late disclosure substantially justified where “witnesses’ relevance
   10 became apparent due to events which occurred after the discovery cutoff”).
   11         Plaintiff’s disclosure was also harmless. Plaintiff disclosed Beard in March,
   12 four months before trial was scheduled to begin. In the intervening four months,
   13 Defendants could have reached out to Beard to investigate the information Plaintiff
   14 disclosed or could have deposed Beard. As the Court recently ruled with respect to
   15 Defendants’ late-produced expert, Dr. Cohen, the late production of Dr. Cohen’s
   16 report “would have been harmless had the plaintiff accepted defendants’ offer to
   17 take Dr. Cohen’s deposition.” (July 26 Hearing Tr. at 73:11-14). Here, Beard is a
   18 third-party witness beyond Plaintiff’s control and therefore Plaintiff could not offer
   19 Beard up for Defendants’ deposition, but the reasoning applies with equal force.
   20 Defendants had four months in which they could have requested to depose Beard—a
   21 single witness5—but they did not. Plaintiffs have made clear to Defendants that
   22
   23   5
          This case stands in stark contrast to Ollier v. Sweetwater Union High School
   24   District, 768 F.3d 843 (9th Cir. 2014), a case that Defendants have cited in their pre-
        trial briefing in support of their exclusion argument. In Ollier, the defendant
   25   disclosed thirty-eight witnesses after the disclosure deadline. 768 F.3d at 862. Thus,
   26   as the court noted, plaintiff would have had to depose all of these witnesses to
        prepare to question them at trial. Id. at 863. Of course, this would have “disrupted
   27   the court’s and the parties’ schedules.” Id. Unlike Ollier, this case would have
   28   required only one additional deposition, and that deposition could have taken place

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    1 they would not oppose a deposition and that they understand Beard is willing to sit
    2 for one. This vitiates Defendants’ argument that they have somehow been harmed
    3 by Plaintiffs’ disclosure. See, e.g., Neurovision Med. Prod., Inc. v. NuVasive, Inc.,
    4 2013 WL 12111590, at *2 (C.D. Cal. Oct. 22, 2013) (finding late disclosure
    5 harmless where trial remained “months away,” leaving “ample time for Defendant
    6 to conduct additional discovery”). And in any event, there is still time for
    7 Defendants to depose Beard (like Plaintiffs did Cohen), and Plaintiff has indicated
    8 to Defendants Beard’s willingness to participate in such a deposition.
    9         C.    There Has Been No Showing that the Marital Privilege Prevents
   10               Beard from Testifying in this Matter.
   11         The marital communications privilege protects “statements or actions that are
   12 intended as confidential communications between spouses, made during the
   13 existence of a valid marriage.” United States v. Fomichev, 899 F.3d 766, 771 (9th
   14 Cir. 2018). The privilege may be invoked by either spouse to prevent the other from
   15 testifying. United States v. Montgomery, 384 F.3d 1050, 1058-59 (9th Cir. 2004).
   16 But it applies only to matters that satisfy three essential elements: (1) a statement or
   17 communicative act, (2) made during a valid marriage, (3) that is confidential.
   18 United States v. Marashi, 913 F.2d 724, 729-30 (9th Cir. 1990).
   19         The party asserting the privilege bears the burden of establishing each
   20 element. Weil v. Inv./Indicators, Rsch. & Mgmt., Inc., 647 F.2d 18, 25 (9th Cir.
   21 1981); United States v. Acker, 52 F.3d 509 (4th Cir. 1995) (“The party asserting an
   22 evidentiary privilege, such as the marital communications privilege, bears the
   23 burden of establishing all of the essential elements involved.”). This requires actual
   24 proof that the privilege applies to the specific communication at issue:
   25 unsubstantiated or conclusory assertions of privilege are insufficient. See United
   26
   27 during the four-month dead period between Plaintiff’s disclosure and the July trial
   28 date.

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    1 States v. Mohsen, 587 F.3d 1028, 1032-33 (9th Cir. 2009) (rejecting defendant’s
    2 marital privilege claim over a note with his wife’s name at the top where he
    3 “presented no evidence whatsoever” that he intended to deliver it as a
    4 “communication”); United States v. Murphy, 65 F.3d 758, 761 (9th Cir. 1995)
    5 (holding that privilege did not apply because defendant failed to show that the
    6 communications were made before the couple separated).
    7        Jordan has presented no evidence that these elements are met—much less
    8 evidence sufficient to carry his heavy burden of proof. See Marashi, 913 F.2d at
    9 730 (marital communications privilege “narrowly construe[d]”); United States v.
   10 Zolin, 809 F.2d 1411, 1415 (9th Cir. 1987), overruled on other grounds by United
   11 States v. Jose, 131 F.3d 1325 (9th Cir. 1997) (privilege should be “strictly confined
   12 within the narrowest possible limits”).
   13        With respect to the existence of a marital relationship, case law is clear that
   14 the privilege reaches only communications that occur during a valid marriage. It is
   15 inapplicable to communications that come before a marriage or after its termination.
   16 Garcia-Jaramillo v. Immigr. & Naturalization Serv., 604 F.2d 1236, 1238 (9th Cir.
   17 1979). Jordan has presented no evidence that Jordan’s display of photos of human
   18 remains to Beard occurred during the couple’s marriage, as opposed to the lengthy
   19 period they dated before being married. Jordan has not, for instance, submitted a
   20 declaration acknowledging that he showed Beard photos of human remains during
   21 the time they were married (as opposed to before or after the marriage). Nor has
   22 Jordan pointed to other evidence that could support that conclusion. The mere fact
   23 that Jordan and Beard were married at one point is not sufficient. As Beard will
   24 testify, she and Jordan have known each other for years but were married for only
   25 two, leaving long periods for communications that cannot possibly be privileged.
   26        Even if Jordan could establish that he showed Beard the relevant photos
   27 during the couple’s marriage, Beard’s testimony would still be admissible over his
   28 objection because it concerns only Jordan’s actions and possessions, not marital

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    1 communications. The marital privilege “extends only to utterances, and not to acts.”
    2 Pereira v. United States, 347 U.S. 1, 6 (1954). A spouse’s actions are not privileged
    3 “communications” because they do not “convey a message” between spouses.
    4 United States v. Lefkowitz, 618 F.2d 1313, 1318 (9th Cir. 1980). Thus, witnesses
    5 are free to testify about their observations of a spouse’s actions or their possessions
    6 without implicating the privilege. See United States v. Lustig, 555 F.2d 737, 748
    7 (9th Cir. 1977) (“Most of [the spouse’s] testimony related to her observations of [the
    8 defendant] engaging in drug transactions with third parties. These are not
    9 communications.”); United States v. Lewis, 433 F.2d 1146, 1151 (D.C. Cir. 1970)
   10 (holding that privilege did not bar wife’s testimony that spouse “came back to the
   11 apartment at 3:00 or 3:30 a.m., and that he then had a sawed-off shotgun”).
   12         For example, in United States v. Ferris, 719 F.2d 1405, 1408 (9th Cir. 1983),
   13 the defendant’s wife was permitted to testify that she observed drugs in the trunk of
   14 her husband’s car. In United States v. Bolzer, 556 F.2d 948, 951 (9th Cir. 1977), the
   15 defendant’s wife was permitted to testify about the size and style of her spouse’s
   16 pants. And in United States v. Hook, 781 F.2d 1166, 1173 n.11 (6th Cir. 1986), the
   17 court held that the defendant’s “acts of giving his wife money” were not
   18 “communicative” and therefore not privileged.
   19         Like the witnesses in these cases, the subject of Beard’s testimony will
   20 concern only non-communicative actions and possessions. Beard will testify that
   21 Jordan showed her a picture of an accident victim when she had no legitimate need
   22 to see it. She will further testify that Jordan printed a copy of the picture and kept it
   23 among his private possessions. Testimony on these issues will not divulge the
   24 substance of communications between Beard and Jordan but “only her knowledge
   25 about and observations of” Beard’s conduct. Bolzer, 556 F.2d at 951. The privilege
   26 is inapplicable.
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   28

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              I, Luis Li, attest under Local Rule 5-4.3.4(a)(2)(i) that all other signatories
   21
        listed, and on whose behalf the filing is submitted, concur in the filing’s content and
   22
        have authorized this filing.
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   24
         Dated: August 3, 2022                                      /s/ Luis Li
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                                                                      Luis Li
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